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   Attorneys for Defendants WARTSILA DEFENSE, INC.,
11 BRYAN RUTTER, and BOBBY HENINGER
12
13                                    UNITED STATES DISTRICT COURT
14                             SOUTHERN DISTRICT OF CALIFORNIA
15 PACIFIC MARINE PROPELLERS,                       Case No. 3:17-cv-00555-BEN-NLS
16 INC.                                             MOTION FOR AN ORDER
                                                    PERMITTING DEFENDANTS TO
17          Plaintiff,                              FILE JOINT MOTION NO. 3 AND
                                                    EXHIBIT 1 TO A DOCUMENT
18                                    v.            UNDER SEAL
19
     WARTSILA DEFENSE, INC., et al.,
                                                    Judge:          Hon. Nita L. Stormes
20
            Defendants.
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                                                        MOTION FOR AN ORDER PERMITTING DEFENDANTS’ TO
     Case No. 3:17-cv-00555-BEN-NLS                                       FILE A DOCUMENT UNDER SEAL
                                                                                         4825-6636-6303.v1
Case 3:17-cv-00555-L-NLS Document 36 Filed 03/15/18 PageID.450 Page 2 of 4



 1          Defendants Wartsila Defense, Inc., Bryan Rutter and Bobby Heninger
 2 (“Defendants”) respectfully submit this motion for an order permitting Defendants
 3 to file a redacted version of the parties’ Joint Motion for Determination of
 4 Discovery Dispute No. 3 (“Joint Motion No. 3”), and to file under seal Exhibit 1 to
 5 the Declaration of Nathaniel R. Smith in Support of Joint Motion No. 3 (“Smith
 6 Declaration Exhibit 1”).
 7          Smith Declaration Exhibit 1 is a financial statement produced by Plaintiff
 8 Pacific Marine Propellers, Inc. (“Plaintiff”) in this litigation and designated by
 9 Plaintiff as “CONFIDENTIAL” under the Protective Order entered in this case
10 (Dkt. 33). Joint Motion No. 3 quotes in part Smith Declaration Exhibit 1.
11 Accordingly, Defendants request permission to file Smith Declaration Exhibit 1
12 under seal, and to file a redacted version of Joint Motion No. 3 that redacts the
13 portion of Joint Motion No. 3 that quotes Smith Declaration Exhibit 1.
14          Under this Court’s Local Rules and the Protective Order entered in this case,
15 an order is required before documents may be filed under seal. “Documents that
16 are to be filed under seal must be accompanied by an order sealing them.” Civ.
17 L.R. 79.2(c). Paragraphs 14 and 31 of the Protective Order (Dkt. 33) state:
18          Before any Materials produced in discovery, answers to
            interrogatories, responses to requests for admissions, deposition
19          transcripts, or other documents which are designated as Confidential
            Information are filed with the Court for any purpose, the party seeking
20          to file such Material must seek permission of the Court to file the
            Material under seal.
21
            …
22
            Filing Under Seal. Nothing shall be filed under seal, and the Court
23          shall not be required to take any action, without separate prior order
            by the Judge before whom the hearing or proceeding will take place,
24          after application by the affected party with appropriate notice to
            opposing counsel. The parties shall follow and abide by applicable
25          law, including Civ. L.R.79.2, ECF Administrative Policies and
            Procedures, Section II.j, and the chambers rules, with respect to filing
26          documents under seal.
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                                                    MOTION FOR AN ORDER PERMITTING DEFENDANTS’ TO
     Case No. 3:17-cv-00555-BEN-NLS                                   FILE A DOCUMENT UNDER SEAL
                                                                                     4825-6636-6303.v1
Case 3:17-cv-00555-L-NLS Document 36 Filed 03/15/18 PageID.451 Page 3 of 4



 1          Defendants’ motion is supported by the Declaration of Nathaniel R. Smith
 2 submitted herewith, the papers and records on file in this action, and such oral and
 3 documentary evidence which the Court may consider in ruling on this motion.
 4
     Dated: March 15, 2018                  PILLSBURY WINTHROP SHAW
 5                                          PITTMAN LLP
 6
 7                                          /s/ Nathaniel R. Smith
                                      By:        NATHANIEL R. SMITH
 8                                          Attorneys for Defendants
                                            WARTSILA DEFENSE, INC., BRYAN
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                                            RUTTER, and BOBBY HENINGER
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                                                    MOTION FOR AN ORDER PERMITTING DEFENDANTS’ TO
     Case No. 3:17-cv-00555-BEN-NLS                                   FILE A DOCUMENT UNDER SEAL
                                                                                     4825-6636-6303.v1
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 1                                    PROOF OF SERVICE
 2          I, Nathaniel R. Smith, am over the age of 18 years and not a party to the
 3 within action; my business address is 501 W. Broadway, Suite 1100, San Diego,
 4 California, 92101-3575.
 5          On March 15, 2018, I caused the document described as:
 6          MOTION FOR AN ORDER PERMITTING DEFENDANTS TO
            FILE JOINT MOTION NO. 3 AND EXHIBIT 1 TO A DOCUMENT
 7          UNDER SEAL
 8 to be served on the parties in Case Number 3:17-cv-00555-BEN-NLS as follows:
 9          On all parties identified for Notice of Electronic Filing generated by
            the Court’s CM/ECF system under the above-referenced case caption
10
11 via Notice of Electronic Filing generated by the Court’s CM/ECF filing system,
12 pursuant to the Court’s Local Rules to the addressees listed above.
13          I declare under penalty of perjury under the laws of the United States of
14 America that the foregoing is true and correct.
15
16 Dated: March 15, 2018                s/ Nathaniel R. Smith
17                                                     Nathaniel R. Smith

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                                                    MOTION FOR AN ORDER PERMITTING DEFENDANTS’ TO
     Case No. 3:17-cv-00555-BEN-NLS                                   FILE A DOCUMENT UNDER SEAL
                                                                                     4825-6636-6303.v1
